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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

U.S.A. vs. MORRISON, Katharine Docket No.: 1:21CR00334-003

The Court may enter a minute order for any of the following options:

Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

i wy Concurs with the recommendation of the Probation Office to “Modify the conditions of

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supervision as follows: Search and Seizure — The defendant shall submit to a search of
his/her person, property, vehicle, place of residence or any other property under his/her
control, based upon reasonable suspicion, and permit confiscation of any evidence or
contraband discovered.”

No action

Issuance of a warrant and enter into NCIC and schedule a hearing upon execution
Issuance of a summons and schedule a hearing

Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
judge for the preparation of a report and recommendation to the district judge. This
designation will remain for the duration of the case, and the designated magistrate judge
will respond to all subsequent requests from the probation office unless otherwise ordered

by the district judge.

Other

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Timothy J. Kelly
United States District =

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Date

